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EXHIBIT 1
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                    CHARGE OF DISCRIMINATION                                            AGENCY                    CHARGE NINBER


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 THE PARTICUIARS ARE afadditionalpaper is neede4 mush eXtra sheet(s)):

I am an African-American Female. Respondent hired me in July 2010. I am a Mental Health Specialist III. My salary
was 536,000.00 phis benefits. I was employed to work on the ABSOP Program for the Psychology Department. The
focus ofthe ABSOP program included the aideddleedi and treatment ofjuveniles that have been adjudicated for illegal
sexual behavior.

 I was qualified for the positions I have held with the Respondent. It took approximately four years fisr me to get
 promoted to Mental Health Specialist 11, and another two years to get promoted to Mental Health Specialist U1. Less
 qualified Caucasian employees wine paid higher wages than African American employees, including me, and were
 placed in higher level and higher paying positions. African American'employees were             ;:..,. - .,' . •.
 often as less qualified Caucasians. Jan Newman,JD PhD, Assistant Clinical Professor,sti*iid she heard
 PhD, Professor and Director of ABSOP Progiam, make negative comments about Blacks that made her feel
 uncomfortable. Dr. Burkhart is part ofthe Executive group and makes hiring and salary drisions. Caucasians received
 superior utatmentto African-Americans as it related to hiring, promotions, and pay.               JUL 3 0 2018
(particulars continued on second page)
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OLIVIA KIONI-HENDRIETH V.AUBURN UNIVERSITY
EEOC CHARGE
PAGE 2

On or about April 17, 2016, I requested a promotion to the posifion of Mgr, Clinical Services. I am qualified for the
position and have performed many of the job remotions of this position since 2014. Dr. Jan Everhart Newman,former
ABSOP Psychologist, advocated for my promotion to Dr. Burkhart to no avail. I did not get the position, and was told
that once I was licensed, I would be promoted. In late 2017, I again applied for the open and available position of Mgr,
Clinical Services, and was licensed 1 interviewed for the position, and was toid by Alicia Williams, ABSOP Program
Manager that 1,"...blew the interview out ofthe water." On or about'February 26,2018,Dr. Burkhart infOrmed me,that
once again I was riot selected for the Mgr, Clinical Services position. The position Was given to a Caucasian male, Jason
Orick. My race and/or my gender was a motivating factor in the position not being awarded to me.

1 am assigned a higher caseload ofstudents than Caucasian employees in the same or similar positions while at the same
time facilitating several group thempy sessions. Caucasian employees have not been required to perform the same amount
of work and are not held to the same standard as me and other African American employees. 1 have also been denied
bonuses or been paid less ofa bonus when Caucasian employees have'received a bonus or been paid more ofa bonus than
me.

I believe the Respondent has exhibited a history of,and pattern and practice of, discriminating against Afiican-American
employees as a class with respect to the terras and conditions oftheir employment.

I have been discriminated against and treated differently than Caucasian employees, because of my race, African
American, and because of my gender, female, and retaliated against because of my complaints and protected activity, in
violadon ofTitle VII ofthe Civil Rights Act of 1964, as amended.
